Case 2:03-cr-20475-.]DB Document 5 Filed 04/28/05 Page 1 of 2 Page|D 2

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UNITED STATES DISTRICT COURT " //)V -'
WESTERN DISTRICT OF TENNESSEE j~“-. ,;::-:.¢;- 2 Q ,_1 ft n _J
Western Division ' ‘ ' -A ‘ n
‘».)r:_.[ ly F ill E'," h}'; '; .~\.c:f l
UNITED STATES OF AMERICA ..!|;'§",_Lt:§j' ('_‘;_: §_.:\;. 313 grin
"’S' ease No. 2:03¢r20475-B
WILLIAM VISOR

 

ORDER APPOINTING COUNSEL PURSUANT T()
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-Styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Crimina] Justiee Act (l 8 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Public Defender is appointed as counsel for the Defendant.

'I`YPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this g _` day of April, 2005.

u\L/>~€\a,\

TU M. PHAM
UNTTED STATES MAGISTRATE IUDGE

 

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off'ice

Assistant Federal Public Defender
lntake

WILLL!\M VISOR

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Thls document entered on the docket jn:?c:t m cor/npl .
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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 5 in
case 2:03-CR-20475 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listcd.

 

 

PDA

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

